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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                            ENTERED
                                                                                          12/04/2017
IN RE:                                          §
MONTCO OFFSHORE, INC., et al                    §       CASE NO: 17-31646
                                                §
MONTCO OILFIELD CONTRACTORS,                    §       CASE NO: 17-31647
LLC                                             §
                                                §       Jointly Administered Order
       Debtor(s)                                §
                                                §       CHAPTER 11

                          ORDER EXTENDING EXCLUSIVITY

      For the reasons set forth on the record on this date, the Court orders:

      1. The Debtors’ exclusive right to file a plan is extended through the conclusion of the
         hearing scheduled for December 7, 2017.

      2. The Debtors’ exclusive solicitation rights are extended commensurate with the
         exclusive right to file a plan.

      3. This Order is without prejudice to further extensions that may be sought at the
         continued hearing on December 7, 2017 at 1:30 p.m.

      SIGNED December 4, 2017.


                                                ___________________________________
                                                            Marvin Isgur
                                                UNITED STATES BANKRUPTCY JUDGE




1/1
